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                                 UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF OKLAHOMA

   VIDEO GAMING TECHNOLOGIES,
   INC.,
                                                            CASE NO. 17-CV-00454-GKF-JFJ
                   Plaintiff,

           vs.

   CASTLE HILL STUDIOS LLC, et al.

                   Defendants.


          DECLARATION OF ROBERT C. GILL IN SUPPORT OF DEFENDANTS’
             MOTION TO STRIKE DECLARATIONS OF STACY FRIEDMAN
         AND JOSH DAVIS SUBMITTED IN SUPPORT OF PLAINTIFF’S MOTION
                      FOR PARTIAL SUMMARY JUDGMENT

           1.      I am an attorney at Saul, Ewing, Arnstein & Lehr LLP, counsel for Defendants

   Castle Hill Studios LLC, Castle Hill Holdings LLC, and Ironworks Development LLC (together

   “Castle Hill”). I was admitted pro hac vice in this matter on October 27, 2017.

           2.      Attached as Exhibit A is a true and correct copy of the Opening Expert Report of

   Stacy Friedman dated August 10, 2018.

           3.      Attached as Exhibit B is a true and correct copy of the Reply Expert Report of

   Stacy Friedman dated September 14, 2018 (exhibits omitted).

           4.      Attached as Exhibit C is a true and correct copy of the Declaration of Stacy

   Friedman in Support of Plaintiff’s Motion for Partial Summary Judgment dated October 11, 2018.

           5.      Attached as Exhibit D is a true and correct copy of the Rebuttal Report of Robert

   Zeidman dated August 31, 2018 (exhibits omitted).

           6.      Attached as Exhibit E is a true and correct copy of the Rebuttal Report of Joseph

   Valandra dated August 31, 2018 (exhibits omitted).
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          7.      Attached as Exhibit F is a true and correct copy of the Rebuttal Expert Report of

   W. Todd Schoettelkotte Relating to Damages dated August 31, 2018 (schedules and exhibits

   omitted).

          8.      Attached as Exhibit G is a true and correct copy of the Declaration of Josh Davis in

   Support of Plaintiff’s Motion for Partial Summary Judgment dated October 10, 2018.

          9.      Attached as Exhibit H is a true and correct copy of VGT’s Preliminary Witness List

   and Exhibit List dated February 16, 2018.

          10.     Attached as Exhibit I is a true and correct copy of VGT’s Supplemental Preliminary

   Witness List and Exhibit List dated July 8, 2018.

          11.     Attached as Exhibit J is a true and correct copy of excerpts from the 30(b)(6)

   Deposition of Josh Davis dated August 3, 2018.

          12.     Attached as Exhibit K is a true and correct copy of Castle Hill Studios LLC’s First

   Set of Interrogatories dated September 25, 2017.

          13.     Attached as Exhibit L is a true and correct copy of certain excerpts of Plaintiffs’

   Sixth Supplemental Objections and Responses to Castle Hill’s First Set of Interrogatories dated

   August 3, 2018.

          14.     Attached as Exhibit M is a true and correct copy of correspondence from R. Gill to

   M. Sawyer dated April 9, 2018.

          15.     Attached as Exhibit N is a true and correct copy of correspondence from M.

   Sawyer to R. Gill dated March 22, 2018.

          16.     I declare under penalty of perjury that the foregoing is true and correct.

   Executed on November 16, 2018 in Washington, District of Columbia.


                                                  /s/ Robert C. Gill
                                                  Robert C. Gill



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                                     CERTIFICATE OF SERVICE
           I hereby certify that on this 16th day of November, 2018, I caused an unredacted copy of
   the foregoing Declaration to be served on the following counsel for Plaintiff who have consented to
   email service, via email:

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                                                                /s/ Robert C. Gill
                                                                Robert C. Gill




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